                CaseApplication
'• AO 106 (Rev. 04/10) 2:19-mj-11418-RBM
                                for a Search Warrant       Document 1 Filed 11/14/19 PageID.1 Page 1 of 9

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                                       UNITED STATES DISTRICT
                                                                       for the
                                                           Southern District of California
                                                                                                                           NOV 1 I. 2019      J
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                                                                                                                BY                 C,,./        Of PUTY
               In the Matter of the Search of                             )
           (Briefly describe the property to be searched                  )
            or identify the person by name and address)                   )           Case No.
                                                                          )
                LG SP200 Cellular Telephone
                Serial No.: 811VTMU1620779                                )                               19MJ11418
           Seized as FP&F No.: 2019250300076202                           )

                                             APPLICATION FOR A SEARCH WARRANT
          I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
  penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
  property to be searched and give its location):

    See Attachment A (incorporated herein by reference).

  located in the             Southern               District of               California                , there is now concealed (identify the
                                                                  ------------
  person or describe the property to be seized):

   See Attachment B (incorporated herein by reference).

            The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
                 r!t( evidence of a crime;
                   r!t( contraband, fruits of crime, or other items illegally possessed;
                   ~ property designed for use, intended for use, or used in committing a crime;
                   0 a person to be arrested or a person who is unlawfully restrained.

            The search is related to a violation of:
              Code Section                                                            Offense Description
          21 U.S.C. 952,960,963,841,                 Importation of a Controlled Substance, Conspiracy to Import a Controlled
          and 846.                                   Substance, Possession with Intent to Distribute a Controlled Substance,
                                                     Conspiracy to Distribute a Controlled Substance
            The application is based on these facts:
          See attached affidavit of HSI Special Agent Christian Schultz.

            ~ Continued on the attached sheet.
            0 Delayed notice of        days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on the . ached sheet 1
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                                                                                              '/
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                                                                                           ~   ....




                                                                                                Christian Schultz, Special Agent
                                                                                                       Printed name and title

  Sworn to before me and signed in my presence.


  Date:
                      T I
  City and state: El Centro, California                                        Hon. Ruth Bermudez Montenegro, U.S. Magistrate Judge
                                                                                                       Printed name and title
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                                ATTACHMENT A

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

      LG SP200 Cellular Telephone
      Serial No.: 811VTMU1620779
      Seized as FP&F No.: 2019250300076202
      ("Target Device")

The Target Device is currently possession of the Department of Homeland Security,
Immigration and Customs Enforcement, Homeland Security Investigations, located at
2051 North Waterman Avenue, El Centro, California 92243.
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                                  ATTACHMENT B

                                ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular telephone for evidence
described below. The seizure and search of the cellular telephone shall follow the
search methodology described in the affidavit submitted in support of the warrant.

      The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period from August 27, 2019 up to and including September 26, 2019:

      a.     tending to indicate efforts to import methamphetamine, or some other
             federally controlled substance, from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;

      c.     tending to identify co-conspirators, criminal associates, or others involved
             in importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States, such as stash houses, load
             houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access to,
             the Target Device; and/or

      f.     tending to place in context, identify the creator or recipient of, or establish
             the time of creation or receipt of communications, records, or data involved
             in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952, 960,
963, 841, and 846.
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 1                                          AFFIDAVIT
 2         I, Special Agent Christian Schultz, being duly sworn, hereby state as follows:
 3                                      INTRODUCTION
 4         1.    I submit this affidavit in support of an application for a warrant to search the
 5 following electronic device(s):
 6                      LG SP200 Cellular Telephone
 7                      Serial No.: 811 VTMU1620779
 8                      Seized as FP&F No.: 2019250300076202
 9                      ("Target Device")
1O as further described in Attachment A, and to seize evidence of crimes, specifically
11 violations ofTitle 21, United States Code, Sections 952,960,963,841, and 846, as further
12 described in Attachment B.
13         2.    The requested warrant relates to the investigation and prosecution of Maria
14 Annette Llanos ("Defendant") and her co-defendant Luisa Inez Desilagua ("Co-
15 defendant")    for   importing approximately      17.82 kilograms      (39.29    pounds) of
16 methamphetamine from Mexico into the United States. See: US. v. Desilagua et al., Case
17 No. 19-CR-4273-BTM (S.D. Cal.) at ECF No. 18 (Information). The Target Device is
18 currently in the possession of the Department of Homeland Security, Immigration and
19 Customs Enforcement, Homeland Security Investigations, located at 2051 North
20 Waterman Avenue, El Centro, California 92243.
21         3.    The information contained in this affidavit is based upon my training,
22 experience, investigation, and consultation with other members of law enforcement.
23 Because this affidavit is made for the limited purpose of obtaining a search warrant for the
24 Target Device, it does not contain all the information known by me or other agents
25 regarding this investigation. All dates and times described are approximate.
26                                      BACKGROUND
27         4.    I am a Special Agent of the United States Department of Homeland Security
28 ("DHS"), Immigration and Customs Enforcement ("ICE"), Homeland Security

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 1 Investigations ("HSI") and have been so employed since September 2018. I am an
 2 investigative or law enforcement officer of the United States within the meaning of 18
 3 U.S.C. § 2510(7). I am empowered to conduct investigations of and to make arrests for,
 4 offenses enumerated in 18 U.S.C. § 2516. I am cross-designated by the United States Drug
 5 Enforcement Administration to conduct narcotics investigations and to enforce provisions
 6 of the Federal Controlled Substance Act, pursuant to Title 21 of the United States Code.
 7         5.     Prior to my work as an HSI Special Agent, I was employed as a United States
 8 Customs and Border Protection ("CBP") Officer with United States Customs and Border
 9 Protection. I am presently assigned to the HSI Imperial Valley Border Enforcement
10 Security Task Force Human Trafficking and Human Smuggling Group located in El
11 Centro, California. During my tenure with HSI, I have participated in the investigation of
12 various drug trafficking organizations involved in the importation and distribution of
13 controlled substances into and through the Southern District of California.
14         6.     Through my training, experience, and conversations with other members of
15 law enforcement, I have gained a working knowledge of the operational habits of narcotics
16 traffickers, in particular those who attempt to import narcotics into the United States from
17 Mexico at Ports of Entry. I am aware that it is common practice for narcotics smugglers to
18 work in concert with other individuals and to do so by utilizing cellular telephones. Because
19 they are mobile, the use of cellular telephones permits narcotics traffickers to easily carry
20 out various tasks related to their trafficking activities, including, e.g., remotely monitoring
21 the progress of their contraband while it is in transit, providing instructions to drug couriers,
22 warning accomplices about law enforcement activity, and communicating with co-
23 conspirators who are transporting narcotics and/or proceeds from narcotics sales.
24         7.     Based upon my training, experience, and consultations with law enforcement
25 officers experienced in narcotics trafficking investigations, and all the facts and opinions
26 set forth in this affidavit, I know that cellular telephones (including their Subscriber
27 Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
28 for example, phone logs and contacts, voice and text communications, and data, such as

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 1 emails, text messages, chats and chat logs from vanous third-party applications,
 2 photographs, audio files, videos, and location data. In particular, in my experience and
 3 consultation with law enforcement officers experienced in narcotics trafficking
 4 investigations, I am aware that individuals engaged in drug trafficking commonly store
 5 photos and videos on their cell phones that reflect or show co-conspirators and associates
 6 engaged in drug trafficking, as well as images and videos of drugs or contraband, proceeds
 7 and assets from drug trafficking, and communications to and from recruiters and
 8 orgamzers.
 9         8.    This information can be stored within disks, memory cards, deleted data,
1O remnant data, slack space, and temporary or permanent files contained on or in the cellular
11 telephone. Specifically, searches of cellular telephones may yield evidence:
12
           a.    tending to indicate efforts to import methamphetamine, or some other
13               federally controlled substance, from Mexico into the United States;
14
           b.    tending to identify accounts, facilities, storage devices, and/or services-
15               such as email addresses, IP addresses, and phone numbers-used to
                 facilitate the importation of methamphetamine, or some other federally
16
                 controlled substance, from Mexico into the United States;
17
           C.    tending to identify co-conspirators, criminal associates, or others involved
18
                 in importation of methamphetamine, or some other federally controlled
19               substance, from Mexico into the United States;
20
           d.    tending to identify travel to or presence at locations involved in the
21               importation of methamphetamine, or some other federally controlled
                 substance, from Mexico into the United States, such as stash houses, load
22
                 houses, or delivery points;
23
           e.    tending to identify the user of, or persons with control over or access to,
24
                 the Target Device; and/or
25
           f.    tending to place in context, identify the creator or recipient of, or establish
26
                 the time of creation or receipt of communications, records, or data involved
27               in the activities described above.
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 1                       FACTS SUPPORTING PROBABLE CAUSE
 2        9.     On September 25, 2019, at approximately 7:34 p.m., Defendant and Co-
 3 defendant traveled from Mexico into the United States and presented themselves for
 4 inspection before a CBP Officer at the Calexico, California West Port of Entry ("Calexico
 5 West POE"). Co-defendant was the driver and registered owner of a 2005 Ford Mustang.
 6 Defendant was a passenger in the vehicle. Defendant and Co-defendant were referred for
 7 secondary inspection, and CBP Officers discovered 55 packages concealed within the front
 8 driver and passenger side fenders of the vehicle. The packages weighed approximately
 9 17.82 kilograms (39.29 pounds), and field-tested positive for the properties of
10 methamphetamine. CBP Officers placed the Defendant and co-defendant under arrest. CBP
11 Officers seized Target Device incident to Defendant's arrest. Target Device was shown to
12 Defendant and she claimed ownership of the Target Device.
13         10.   In light of the above facts, and my own experience and training, there is
14 probable cause to believe that Defendant was using the Target Device to communicate with
15 others to further the importation of illicit narcotics into the United States. Because Target
16 Device was seized at the time Defendant's arrest for this offense, there is probable cause
17 to believe that evidence of illegal activity committed by Defendant, Co-defendant, and
18 unknown co-conspirators continues to exist on Target Device.
19         11.   In my training and experience, narcotics traffickers may be involved in the
20 planning and coordination of a drug smuggling event in the days and weeks prior to an
21 event. Co-conspirators are also often unaware of a defendant's arrest and will continue to
22 attempt to communicate with a defendant after their arrest to determine the whereabouts of
23 the narcotics. Based on my training and experience, it is also not unusual for individuals,
24 such as Defendant, to attempt to minimize the amount of time they were involved in their
25 smuggling activities, and for the individuals to be involved for weeks and months longer
26 than they claim. Accordingly, I request permission to search the Target Device for data
27 from August 27, 2019 up to and including September 26, 2019, which was the day after
28 Defendant and Co-defendant's arrest.

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 1                                      METHODOLOGY
 2         12.   It is not possible to determine, merely by knowing the cellular telephone's
 3 make, model and serial number, the nature and types of services to which the device is
 4 subscribed and the nature of the data stored on the device. Cellular devices today can be
 5 simple cellular telephones and text message devices, can include cameras, can serve as
 6 personal digital assistants and have functions such as calendars and full address books and
 7 can be mini-computers allowing for electronic mail services, web services and rudimentary
 8 word processing. An increasing number of cellular service providers now allow for their
 9 subscribers to access their device over the internet and remotely destroy all of the data
1O contained on the device. For that reason, the device may only be powered in a secure
11 environment or, if possible, started in "flight mode" which disables access to the network.
12 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
13 equivalents and store information in volatile memory within the device or in memory cards
14 inserted into the device. Current technology provides some solutions for acquiring some of
15 the data stored in some cellular telephone models using forensic hardware and software.
16 Even if some of the stored information on the device may be acquired forensically, not all
17 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
18 data acquisition or that have potentially relevant data stored that is not subject to such
19 acquisition, the examiner must inspect the device manually and record the process and the
20 results using digital photography. This process is time and labor intensive and may take
21 weeks or longer.
22         13.   Following the issuance of this warrant, I will collect the subject cellular
23 telephone and subject it to analysis. All forensic analysis of the data contained within the
24 telephone and its memory cards will employ search protocols directed exclusively to the
25 identification and extraction of data within the scope of this warrant.
26         14.   Based on the foregoing, identifying and extracting data subject to seizure
27 pursuant to this warrant may require a range of data analysis techniques, including manual
28 review, and, consequently, may take weeks or months. The personnel conducting the

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 1 identification and extraction of data will complete the analysis within 90 days, absent
 2 further application to this court.
 3                      PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 4         15.   Law enforcement has not previously attempted to obtain the evidence sought
 5 by this warrant.
 6                                      CONCLUSION
 7         16.   Based on the facts and information set forth above, there is probable cause to
 8 believe that a search of the Target Device will yield evidence of Defendant's violations of
 9 Title 21, United States Code, Sections 952,960,963,841, and 846.
10         17.   Because the Target Device was seized at the time of Defendant's arrest and
11 has been securely stored since that time, there is probable cause to believe that such
12 evidence continues to exist on the Target Device. As stated above, I believe that the
13 appropriate date range for this search is from August 27, 2019 up to and including
14 September 26, 2019.
15         18.   Accordingly, I request that the Court issue a warrant authorizing law
16 enforcement to search the item( s) described in Attachment A and seize the items listed in
17 Attachment Busing the above-described methodology.
18
19 I swear the foregoing is true and correct to the best of my knowledge and belief.
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24
     Subscribed and sworn to before me this    /fl!:   day ofNovember, 2019.

25
26
    on. uth Bermudez Montenegro
27 United States Magistrate Judge
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